 Fill in thisCase     18-13243
             information               Doc
                         to identify your case:1   Filed 12/06/18 Entered 12/06/18 11:31:42 Main Document Page 1 of 31
 United States Bankruptcy Court for the:

               Eastern District of Louisiana

 Case number (If known):                            Chapter you are filing under:
                                                    ✔
                                                    ❑       Chapter 7
                                                    ❑       Chapter 11
                                                    ❑       Chapter 12
                                                    ❑       Chapter 13                                                                           ❑Check if this is an
                                                                                                                                                      amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                               About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Duc                                                           Lynn
       government-issued picture               First name                                                       First name
       identification (for example, your
       driver’s license or passport).
                                               Middle name                                                      Middle name
       Bring your picture identification to        Tran                                                          Mai
       your meeting with the trustee.          Last name                                                        Last name


                                               Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                               First name                                                       First name
       Include your married or maiden
       names.                                  Middle name                                                      Middle name


                                               Last name                                                        Last name




                                               First name                                                       First name


                                               Middle name                                                      Middle name


                                               Last name                                                        Last name




  3.   Only the last 4 digits of your
                                               xxx - xx - 2        3       3   5                                xxx - xx - 8         5       3    0
       Social Security number or
       federal Individual Taxpayer             OR                                                               OR
       Identification number                   9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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 Debtor 2            Lynn                                             Mai                                                Case number (if known)
                     First Name          Middle Name                  Last Name




                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ✔I have not used any business names or EINs.
                                                                                                              ❑
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          3629 Ridgelake Dr. Unit 15
                                          Number             Street                                           Number            Street




                                          Metairie, LA 70002
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Jefferson
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ✔
                                                                                                              ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




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 Debtor 2            Lynn                                         Mai                                                  Case number (if known)
                     First Name          Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




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 Debtor 2             Lynn                                             Mai                                               Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




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 Debtor 2            Lynn                                            Mai                                                 Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔                                                                     ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
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 Debtor 2            Lynn                                              Mai                                                Case number (if known)
                     First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑    No. Go to line 16b.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ✔
                                                           ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ✔
                                             ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your assets to be worth?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your liabilities to be?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Duc Tran                                                           ✘ /s/ Lynn Mai
                                         Duc Tran, Debtor 1                                                       Lynn Mai, Debtor 2
                                         Executed on 12/05/2018                                                   Executed on 12/05/2018
                                                         MM/ DD/ YYYY                                                             MM/ DD/ YYYY




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                     First Name             Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Rachel Anderson                                                   Date 12/05/2018
                                                 Rachel Anderson, Attorney                                                   MM / DD / YYYY




                                                  Rachel Anderson
                                                 Printed name

                                                 The Law Office of Rachel Thyre Anderson, LLC
                                                 Firm name

                                                 428 W. 21st Ave.
                                                 Number       Street



                                                 Covington                                                           LA       70433
                                                 City                                                                State    ZIP Code



                                                 Contact phone (985) 377-9271                                     Email address rachel@rachelandersonlaw.com


                                                 33501                                                               LA
                                                 Bar number                                                          State




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 Fill in this information to identify your case:

  Debtor 1                   Duc                                       Tran
                             First Name            Middle Name        Last Name

  Debtor 2                   Lynn                                      Mai
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Louisiana

  Case number                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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Debtor 2   Case Lynn
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                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                        $104,384.60            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                        $126,383.00            bonuses, tips
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                        $131,982.00            bonuses, tips
    (January 1 to December 31, 2016         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
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Debtor 2 Case 18-13243
              Lynn                 Doc 1 Filed 12/06/18
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                                                                                     Case Document
                                                                                          number (if known) Page 10 of 31
                    First Name              Middle Name            Last Name


    For last calendar year:
    (January 1 to December 31, 2017          )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2016          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑No. Go to line 7.
              ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
              ❑
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                             Dates of             Total amount paid            Amount you still owe      Was this payment for…
                                                             payment

                                                                                                                                        ✔ Mortgage
                                                                                                                                        ❑
             Mr. Cooper                                      Sep-Nov 2018                      $3,099.00                  $110,000.00
             Creditor's Name                                                                                                            ❑Car
             8950 Cypress Waters Blvd                                                                                                   ❑Credit card
             Number      Street
                                                                                                                                        ❑Loan repayment
             Coppell, TX 75019                                                                                                          ❑Suppliers or vendors
                                                                                                                                        ❑Other
             City                   State        ZIP Code



                                                                                                                                        ❑Mortgage
             Capital One Auto Finance
             Creditor's Name
                                                             Sep-Nov 2018                      $1,863.00                   $34,000.00
                                                                                                                                        ✔ Car
                                                                                                                                        ❑
             PO Box 259407                                                                                                              ❑Credit card
             Number      Street
                                                                                                                                        ❑Loan repayment
             Plano, TX 75025                                                                                                            ❑Suppliers or vendors
                                                                                                                                        ❑Other
             City                   State        ZIP Code




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                    First Name            Middle Name                Last Name



  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                          Dates of               Total amount paid     Amount you still owe      Reason for this payment
                                                          payment



    Insider's Name


    Number      Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe      Reason for this payment
                                                          payment                                                                Include creditor’s name



    Insider's Name


    Number      Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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                                                      Nature of the case                      Court or agency                                   Status of the case

    Case title                                                                                                                                 ❑Pending
                                                                                             Court Name                                        ❑On appeal
                                                                                                                                               ❑Concluded
                                                                                             Number       Street
    Case number

                                                                                             City                     State         ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                    Describe the property                                    Date                Value of the property



    Creditor’s Name


    Number       Street                                             Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                       Date action was        Amount
                                                                                                                        taken
    Creditor’s Name


    Number       Street



    City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes



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 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave    Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that     Describe what you contributed                                    Date you              Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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     Describe the property you lost and       Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
     how the loss occurred                    Include the amount that insurance has paid. List pending
                                              insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred              Date payment or      Amount of payment
     The Law Office of Rachel Thyre                                                                            transfer was made
     Anderson, LLC                             Attorney’s Fee; Filing Fee
    Person Who Was Paid                                                                                       12/04/2018                        $1,265.00
     428 W. 21st Ave.                                                                                         12/04/2018                          $335.00
    Number     Street




     Covington, LA 70433
    City                   State   ZIP Code
     rachel@rachelandersonlaw.com
    Email or website address


    Person Who Made the Payment, if Not You

                                                Description and value of any property transferred              Date payment or      Amount of payment
     Money Sharp                                                                                               transfer was made
    Person Who Was Paid                        Credit counseling course
                                                                                                              12-4-18                              $10.00
    Number     Street




     ,
    City                   State   ZIP Code
    moneysharp.org
    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.



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                    First Name          Middle Name             Last Name

                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




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                    First Name           Middle Name            Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number          Type of account or        Date account was           Last balance
                                                                                         instrument                closed, sold, moved, or    before closing or
                                                                                                                   transferred                transfer

    Name of Financial Institution
                                                XXXX–                                    ❑Checking
                                                                                         ❑Savings
    Number      Street
                                                                                         ❑Money market
                                                                                         ❑Brokerage
                                                                                         ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                     Describe the contents                          Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Financial Institution               Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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                    First Name            Middle Name               Last Name

                                                    Who else has or had access to it?                 Describe the contents                              Do you still have
                                                                                                                                                         it?

                                                                                                                                                       ❑No
    Name of Storage Facility                       Name
                                                                                                                                                       ❑Yes

    Number     Street                              Number      Street



                                                   City                   State    ZIP Code

    City                   State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                            Describe the property                              Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                   State    ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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                    First Name          Middle Name             Last Name

                                               Governmental unit                       Environmental law, if you know it                Date of notice


    Name of site                              Governmental unit



    Number       Street                       Number       Street


                                              City                  State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Governmental unit                       Environmental law, if you know it                Date of notice


    Name of site                              Governmental unit



    Number       Street                       Number       Street


                                              City                  State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Court or agency                         Nature of the case                               Status of the case


    Case title
                                              Court Name
                                                                                                                                        ❑Pending
                                                                                                                                        ❑On appeal
                                                                                                                                        ❑Concluded
                                              Number       Street


    Case number
                                              City                  State   ZIP Code




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                     First Name             Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:         –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                       Date issued



    Name                                             MM / DD / YYYY



    Number        Street




    City                     State    ZIP Code




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                  First Name            Middle Name            Last Name

Part 12: Sign Below


I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




  ✘                         /s/ Duc Tran                             ✘                       /s/ Lynn Mai
      Signature of Duc Tran, Debtor 1                                  Signature of Lynn Mai, Debtor 2


      Date 12/05/2018                                                    Date 12/05/2018




Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

  ✔ No
  ❑
  ❑Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

  ✔ No
  ❑
                                                                                                    Attach the Bankruptcy Petition Preparer’s Notice,
  ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
         Case 18-13243 Doc 1 Filed 12/06/18 Entered 12/06/18 11:31:42 Main Document Page 21 of 31
 Fill in this information to identify your case:

  Debtor 1                   Duc                                          Tran
                             First Name            Middle Name           Last Name

  Debtor 2                   Lynn                                         Mai
  (Spouse, if filing)        First Name            Middle Name           Last Name

  United States Bankruptcy Court for the:                           Eastern District of Louisiana

  Case number                                                                                                                             ❑    Check if this is an
  (if known)                                                                                                                                   amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                        12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral                   What do you intend to do with the property that secures a Did you claim the property as
                                                                                 debt?                                                     exempt on Schedule C?

    Creditor’s                                                                   ✔ Surrender the property.
                                                                                 ❑                                                          ❑ No
    name:                 Mr. Cooper
                                                                                 ❑ Retain the property and redeem it.                       ✔ Yes
                                                                                                                                            ❑
    Description of
    property
                          Debtors' principal residence; value
                          decreasing
                                                                                 ❑ Retain the property and enter into a
                                                                                     Reaffirmation Agreement.
    securing debt:        3629 Ridgelake Dr. Unit 15 Metairie, LA
                          70002                                                  ❑ Retain the property and [explain]:


    Creditor’s                                                                   ❑ Surrender the property.                                  ✔ No
                                                                                                                                            ❑
    name:                 Capital One Auto Finance
                                                                                 ❑ Retain the property and redeem it.                       ❑ Yes
    Description of        2019 Jeep Cherokee                                     ✔ Retain the property and enter into a
                                                                                 ❑
    property                                                                         Reaffirmation Agreement.
    securing debt:
                                                                                 ❑ Retain the property and [explain]:




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 Debtor 2             Lynn                                        Mai                                             Case number (if known)
                      First Name            Middle Name           Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                            /s/ Duc Tran                         ✘                             /s/ Lynn Mai
    Signature of Debtor 1                                               Signature of Debtor 2


    Date 12/05/2018                                                     Date 12/05/2018
           MM/ DD/ YYYY                                                       MM/ DD/ YYYY




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B2030 (Form 2030)(12/15)


                                                 United States Bankruptcy Court
                                                        Eastern District of Louisiana
In re
Tran, Duc                                                                                                         Case No.
Mai, Lynn                                                                                                         Chapter         7
Debtor(s)

                                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                       $1,265.00
          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                         $1,265.00
          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $0.00

2.   The source of the compensation to be paid to me was:
          ✔
          ❑    Debtor                               ❑    Other (specify)

3.   The source of compensation to be paid to me is:
          ✔
          ❑    Debtor                               ❑    Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     ❑
     associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
     compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Representation of the debtor(s) in any dischargeability actions, judicial lien avoidances, relief from stay actions or any
     other adversary proceedings.

                                                                        CERTIFICATION
                          I certify that the foregoing is a complete statement of any agreement or
                       arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                       proceeding.

                       12/05/2018                                      /s/ Rachel Anderson
                       Date                                                Signature of Attorney

                                                                       The Law Office of Rachel Thyre Anderson,
                                                                       LLC
                                                                          Name of law firm
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                                    Bay Medical Center
                                    2903 Martin Luther King Jr Blvd
                                    Panama City, FL 32405




                                    Campus Federal Credit Union
                                    PO Box 98036
                                    Baton Rouge, LA 70898




                                    Capital One Auto Finance
                                    PO Box 259407
                                    Plano, TX 75025




                                    Capital One NA
                                    10700 Capital One Way
                                    Richmond, VA 23060




                                    Chase Bank USA
                                    PO Box 15298
                                    Wilmington, DE 19850




                                    Cox Communications
                                    PO Box 9001079
                                    Louisville, KY 40290




                                    Dept of Ed/Navient
                                    123 Justison St 3rd Floor
                                    Wilmington, DE 19801




                                    DSNB/Macys
                                    PO Box 8218
                                    Mason, OH 45050
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                                    East Jefferson Gen Hosp
                                    PO Box 919126
                                    Dallas, TX 75391




                                    La Maison de la Bonne Vie
                                    HOA
                                    3725 Ridgelake Drive
                                    Metairie, LA 70002



                                    Medicredit
                                    PO Box 1629
                                    Maryland Heights, MO 63043




                                    Mr. Cooper
                                    8950 Cypress Waters Blvd
                                    Coppell, TX 75019




                                    Southern Credit Recovery
                                    3228 6th St #201
                                    Metairie, LA 70002




                                    SYNCB/Care Credit
                                    PO Box 965036
                                    Orlando, FL 32896
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                                                   BANKRUPTCY COURT Main Document Page 26 of 31
                                                           EASTERN DISTRICT OF LOUISIANA
                                                               NEW ORLEANS DIVISION

IN RE: Tran, Duc                                                                             CASE NO
       Mai, Lynn
                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       12/05/2018              Signature                                         /s/ Duc Tran
                                                                                   Duc Tran, Debtor


Date       12/05/2018              Signature                                          /s/ Lynn Mai
                                                                                 Lynn Mai, Joint Debtor
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                 Notice Required by 11 U.S.C. § 342(b) for
                 Individuals Filing for Bankruptcy (Form 2010)


                   This notice is for you if:                                            Chapter 7: Liquidation

                         You are an individual filing for                                                    $245      filing fee
                         bankruptcy, and                                                                         $75   administrative fee
                                                                                                    +            $15   trustee surcharge
                         Your debts are primarily consumer
                         debts.                                                                              $335      total fee
                         Consumer debts are defined in 11 U.S.C.
                         § 101(8) as “incurred by an individual                         Chapter 7 is for individuals who have
                         primarily for a personal, family, or                           financial difficulty preventing them from
                         household purpose.”                                            paying their debts and who are willing to
                                                                                        allow their non- exempt property to be used
                                                                                        to pay their creditors. The primary purpose
                                                                                        of filing under chapter 7 is to have your
                                                                                        debts discharged. The bankruptcy discharge
                 The types of bankruptcy that are                                       relieves you after bankruptcy from having to
                 available to individuals                                               pay many of your pre-bankruptcy debts.
                                                                                        Exceptions exist for particular debts, and
                 Individuals who meet the qualifications may file                       liens on property may still be enforced after
                 under one of four different chapters of the                            discharge. For example, a creditor may
                 Bankruptcy Code:                                                       have the right to foreclose a home
                                                                                        mortgage or repossess an automobile.
                         Chapter 7 — Liquidation
                                                                                        However, if the court finds that you have
                         Chapter 11— Reorganization                                     committed certain kinds of improper conduct
                                                                                        described in the Bankruptcy Code, the court
                         Chapter 12— Voluntary repayment plan                           may deny your discharge.
                                     for family farmers or
                                     fishermen                                           You should know that even if you file chapter 7
                                                                                        and you receive a discharge, some debts are
                         Chapter 13— Voluntary repayment plan                           not discharged under the law. Therefore, you
                                     for individuals with regular                       may still be responsible to pay:
                                     income
                                                                                                 most taxes;
                You should have an attorney review your                                          most student loans;
                decision to file for bankruptcy and the choice                                   most domestic support and property
                of                                                                               settlement obligations;
                 chapter.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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                                                                                         your income is more than the median income for
                         most fines, penalties, forfeitures, and
                                                                                         your state of residence and family size,
                         criminal restitution obligations; and
                                                                                        depending on the results of the Means Test, the
                         certain debts that are not listed in your
                                                                                        U.S. trustee, bankruptcy administrator, or
                         bankruptcy papers.                                             creditors can file a motion to dismiss your case
                 You may also be required to pay debts arising                          under § 707(b) of the Bankruptcy Code. If a
                 from:                                                                  motion is filed, the court will decide if your case
                                                                                        should be dismissed. To avoid dismissal, you
                         fraud or theft;
                                                                                        may choose to proceed under another chapter of
                         fraud or defalcation while acting in breach
                                                                                        the Bankruptcy Code.
                         of fiduciary capacity;
                         intentional injuries that you inflicted; and
                                                                                        If you are an individual filing for chapter 7
                         death or personal injury caused by
                                                                                        bankruptcy, the trustee may sell your property
                         operating a motor vehicle, vessel, or
                                                                                        to pay your debts, subject to your right to
                         aircraft while intoxicated from alcohol or
                                                                                        exempt the property or a portion of the proceeds
                         drugs.
                                                                                        from the sale of the property. The property, and
                                                                                        the proceeds from property that your
                 If your debts are primarily consumer debts, the
                                                                                        bankruptcy trustee sells or liquidates that you
                 court can dismiss your chapter 7 case if it finds
                                                                                        are entitled to, is called exempt property.
                 that you have enough income to repay creditors
                                                                                        Exemptions may enable you to keep your home,
                 a certain amount. You must file Chapter 7
                                                                                        a car, clothing, and household items or to
                 Statement of Your Current Monthly Income
                                                                                        receive some of the proceeds if the property is
                 (Official Form 122A–1) if you are an individual
                                                                                        sold.
                 filing for bankruptcy under chapter 7. This form
                 will determine your current monthly income and
                                                                                        Exemptions are not automatic. To exempt
                 compare whether your income is more than the
                                                                                        property, you must list it on Schedule C: The
                 median income that applies in your state.
                                                                                        Property You Claim as Exempt (Official Form
                                                                                        106C). If you do not list the property, the
                 If your income is not above the median for your
                                                                                        trustee may sell it and pay all of the proceeds to
                 state, you will not have to complete the other
                                                                                        your creditors.
                 chapter 7 form, the Chapter 7 Means Test
                 Calculation (Official Form 122A–2).

                                                                                         Chapter 11: Reorganization
                 If your income is above the median for your
                 state, you must file a second form —the                                                    $1,167     filing fee
                 Chapter 7 Means Test Calculation (Official Form
                                                                                                   +            $550   administrative fee
                 122A–2). The calculations on the form—
                 sometimes called the Means Test —deduct from                                               $1,717     total fee
                 your income living expenses and payments on
                 certain debts to determine any amount available                        Chapter 11 is often used for reorganizing a
                 to pay unsecured creditors. If                                         business, but is also available to individuals. The
                                                                                        provisions of chapter 11 are too complicated to
                                                                                        summarize briefly.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 2
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                   Read These Important Warnings

                       Because bankruptcy can have serious long-term financial and legal consequences, including
                       loss of your property, you should hire an attorney and carefully consider all of your options
                       before you file. Only an attorney can give you legal advice about what can happen as a result
                       of filing for bankruptcy and what your options are. If you do file for bankruptcy, an attorney
                       can help you fill out the forms properly and protect you, your family, your home, and your
                       possessions.

                       Although the law allows you to represent yourself in bankruptcy court, you should
                       understand that many people find it difficult to represent themselves successfully. The rules
                       are technical, and a mistake or inaction may harm you. If you file without an attorney, you are
                       still responsible for knowing and following all of the legal requirements.

                       You should not file for bankruptcy if you are not eligible to file or if you do not intend to file
                       the necessary documents.

                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud
                       in your bankruptcy case. Making a false statement, concealing property, or obtaining money
                       or property by fraud in connection with a bankruptcy case can result in fines up to $250,000,
                       or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                        Under chapter 13, you must file with the court a
                  Chapter 12: Repayment plan for
                  family                                                                plan to repay your creditors all or part of the
                             farmers or fishermen                                       money that you owe them, usually using your
                                                                                        future earnings. If the court approves your plan,
                                      $200     filing fee                               the court will allow you to repay your debts, as
                             +          $75    administrative fee                       adjusted by the plan, within 3 years or 5 years,
                                                                                        depending on your income and other factors.
                                      $275     total fee
                                                                                        After you make all the payments under your
                 Similar to chapter 13, chapter 12 permits family                       plan, many of your debts are discharged. The
                 farmers and fishermen to repay their debts over                        debts that are not discharged and that you may
                 a period of time using future earnings and to                          still be responsible to pay include:
                 discharge some debts that are not paid.
                                                                                                 domestic support obligations,
                                                                                                 most student loans,
                  Chapter 13: Repayment plan for                                                 certain taxes,
                             individuals with regular                                            debts for fraud or theft,
                             income                                                              debts for fraud or defalcation while acting
                                                                                                 in a fiduciary capacity,
                                      $235     filing fee                                        most criminal fines and restitution
                             +          $75    administrative fee                                obligations,
                                                                                                 certain debts that are not listed in your
                                      $310     total fee
                                                                                                 bankruptcy papers,
                                                                                                 certain debts for acts that caused death
                 Chapter 13 is for individuals who have regular
                                                                                                 or
                 income and would like to pay all or part of their
                                                                                                 personal injury, and
                 debts in installments over a period of time and
                                                                                                 certain long-term secured debts
                 to discharge some debts that are not paid. You
                 are eligible for chapter 13 only if your debts are
                 not more than certain dollar amounts set forth in
                 11 U.S.C. § 109.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 3
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                   Warning: File Your Forms on Time                                              A married couple may file a bankruptcy
                                                                                                 case together—called ajoint case. If you
                   Section 521(a)(1) of the Bankruptcy Code                                      file a joint case and each spouse lists the
                   requires that you promptly file detailed                                      same mailing address on the bankruptcy
                   information about your creditors, assets,                                     petition, the bankruptcy court generally will
                   liabilities, income, expenses and general                                     mail you and your spouse one copy of
                   financial condition. The court may dismiss                                    each notice, unless you file a statement
                   your bankruptcy case if you do not file this                                  with the court asking that each spouse
                   information within the deadlines set by the                                   receive separate copies.
                   Bankruptcy Code, the Bankruptcy Rules,
                   and the local rules of the court.
                                                                                                 Understand which services you
                                                                                                 could receive from credit
                   For more information about the documents                                      counseling agencies
                   and their deadlines, go to:
                   http://www.uscourts.gov/bkforms                                               The law generally requires that you receive
                   /bankruptcy_form                                                              a credit counseling briefing from an
                   s.html#procedure.                                                             approved credit counseling agency. 11
                                                                                                 U.S.C. § 109(h). If you are filing a joint
                                                                                                 case, both spouses must receive the
                 Bankruptcy crimes have serious                                                  briefing. With limited exceptions, you must
                 consequences
                                                                                                 receive it within the 180 days before you
                         If you knowingly and fraudulently                                       file your bankruptcy petition. This briefing
                         conceal                                                                 is usually conducted by telephone or on
                         assets or make a false oath or statement                                the Internet.
                         under penalty of perjury—either orally or
                         in writing—in connection with a                                         In addition, after filing a bankruptcy case,
                         bankruptcy case, you may be fined,                                      you generally must complete a financial
                         imprisoned, or both.                                                    management instructional course before
                         All information you supply in connection                                you can receive a discharge. If you are
                         with a bankruptcy case is subject to                                    filing a joint case, both spouses must
                         examination by the Attorney General                                     complete the course.
                         acting
                         through the Office of the U.S. Trustee,                                 You can obtain the list of agencies
                         the                                                                     approved to provide both the briefing and
                         Office of the U.S. Attorney, and other                                  the instructional course from:
                         offices and employees of the U.S.                                       http://justice.gov/ust/eo/hapcpa
                         Department of Justice.                                                  /ccde/cc_approved.html.


                 Make sure the court has your                                                    In Alabama and North Carolina, go to:
                 mailing address                                                                 http://www.uscourts.gov/FederalCourts
                                                                                                 /Bankruptcy/
                 The bankruptcy court sends notices to the                                       BankruptcyResources/ApprovedCredit
                 mailing address you list on Voluntary Petition for                              AndDebtCounselors.aspx.
                 Individuals Filing for Bankruptcy(Official Form
                 101). To ensure that you receive information                                    If you do not have access to a computer,
                 about your case, Bankruptcy Rule 4002 requires                                  the clerk of the bankruptcy court may be
                 that you notify the court of any changes in your                                able to help you obtain the list.
                 address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)           page 4
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